  Case 4:22-cv-00037-PK Document 19 Filed 07/14/22 PageID.115 Page 1 of 3




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Attorney for Plaintiff
Southern Utah Wilderness Alliance


                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


 SIERRA CLUB and SOUTHERN UTAH                              Case No. 4:22-cv-00037-PK
 WILDERNESS ALLIANCE,
                                                           Magistrate Judge Paul Kohler
        Plaintiffs,
                                                        NOTICE OF APPEARANCE OF
 v.                                                             COUNSEL

 KENT HOFFMAN, in his official capacity as
 Deputy State Director, Division of Lands and
 Minerals, Utah State Office, U.S. Bureau of
 Land Management; U.S. BUREAU OF
 LAND MANAGEMENT; and U.S.
 DEPARTMENT OF THE INTERIOR,

        Defendants.


       Notice is hereby given of the entry of the undersigned as counsel for Plaintiff Southern

Utah Wilderness Alliance in the above-entitled action. Pursuant to Fed. R. Civ. P. 5, all further

notice and copies of pleadings, papers and other material relevant to this action should be

directed to and served upon:
 Case 4:22-cv-00037-PK Document 19 Filed 07/14/22 PageID.116 Page 2 of 3




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DATED:    July 14, 2022
                                        Respectfully submitted,

                                               /s/ Landon Newell




                                    2
  Case 4:22-cv-00037-PK Document 19 Filed 07/14/22 PageID.117 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I certify that on July 14, 2022, I served a copy of the foregoing Notice of Appearance of

Counsel via the Court’s CM/ECF System, which will serve all counsel of record.



                                                            /s/ Landon Newell




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